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                               UNITED STATES DISTRICT COURT

                               WESTERN DISTRICT OF LOUISIANA

                                      LAFAYETTE DIVISION

  JOHN THIBODEAUX, AMY THIBODEAUX,                             *       CIVIL ACTION
  GABRIELLE THIBODEAUX, AND EMILY
  THIBODEAUX                                                   *       NO. 18-501

  PLAINTIFFS                                                   *       UNASSIGNED DISTRICT
                                                                       JUDGE
  VERSUS                                                       *
                                                                       MAGISTRATE JUDGE
  J.M. DRILLING, LLC, ADMIRAL INSURANCE                        *       CAROL B. WHITEHURST
  COMPANY, ROCKHILL INSURANCE COMPANY,
  AND BELLSOUTH TELECOMMUNICATIONS, LLC                        *

  DEFENDANTS                                      *
  ******************************************************************************
                         MEMORANDUM IN SUPPORT OF
             ADMIRAL INSURANCE COMPANY’S MOTION TO DISMISS
                     PURSUANT TO RULE 12(b)(1) AND 12(b)(6)

  MAY IT PLEASE THE COURT:

            Defendant, Admiral Insurance Company (“Admiral”), respectfully submits this

  Memorandum in Support of its Motion to Dismiss, urging this Court to dismiss Admiral from

  this proceeding, insofar as there is no case or controversy with respect to Admiral sufficient to

  justify the exercise of this Court’s subject matter jurisdiction and, further, that Plaintiffs’

  Complaint fails to state a claim for relief against Admiral pursuant to Rule 12(b)(6) in this

  matter.

     I. INTRODUCTION

            This declaratory judgment action stems from a Petition for Damages filed in the 15th

  Judicial District Court for the Parish of Jefferson, in the matter of Thibodeaux, et al. v. Gulfgate

  Construction, LLC, et al., No. 2015-4167 (“The Thibodeaux Lawsuit”), arising out of injuries




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  sustained by John Thibodeaux as a result of an accident which occurred on June 9, 2015. In

  January 2017, all defendants in the Thibodeaux Lawsuit, except JM Drilling, L.L.C., were

  dismissed by the Court pursuant to Motions for Summary Judgment. After the grant of summary

  judgment in favor of Plaintiffs and against JM Drilling, L.L.C. on liability, the case proceeded to

  trial on damages only and, on March 29, 2018, the jury returned a verdict in favor of Plaintiffs

  and against JM Drilling, L.L.C., awarding damages to John Thibodeaux in the amount of

  $3,538,118.00; to Amy Thibodeaux in the amount of $150,000.00; and to Gabrielle Thibodeaux

  in the amount of $10,000.00. Thereafter, a Judgment was entered by the Court on April 6, 2018

  in accordance with the jury verdict. Judgment was also entered in favor of the intervenor,

  Bellsouth Telecommunications, L.L.C., and against JM Drilling, L.L.C., with respect to the

  worker’s compensation lien. As noted in the Complaint for Declaratory Judgment, Admiral

  issued a primary Commercial General Liability insurance policy to JM Drilling, L.L.C. with a

  liability limit of $1,000,000.00, while defendant, Rockhill Insurance Company (“Rockhill”),

  issued an excess insurance policy to JM Drilling, L.L.C. with a liability limit of $5,000,000.00.

         This declaratory judgment action was filed in April, 2018 by the Thibodeauxs, seeking a

  declaration by the Court that the excess insurance policy issued by Rockhill affords coverage to

  JM Drilling, L.L.C. for payment of the remainder of the judgment rendered in favor of Plaintiffs

  in the Thibodeaux Lawsuit. The issues presented in the Complaint for Declaratory Judgment

  relate to the interpretation of Rockhill’s excess “follow form” insurance policy and several

  exclusions contained therein. Notably, while there are facts pled in the Complaint for

  Declaratory Judgment pertaining to the primary insurance policy issued by Admiral Insurance

  Company to JM Drilling, L.L.C., the prayer in the Complaint for Declaratory Judgment seeks




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  relief solely as to Rockhill. Paragraph 33 and the prayer for relief in Plaintiffs’ Complaint for

  Declaratory Judgment read as follows:

                                                          33.

                     Plaintiffs seek a judicial determination that there is coverage under
                     the Rockhill Insurance Company excess policy, policy number
                     FF013178-00, issued to J.M. Drilling, LLC, for Plaintiffs’ damages
                     in excess of the $1,000,000.00 limits of the Admiral Insurance
                     Company primary policy, policy number CA000019278-02, as
                     contained in the Final Judgment (Exhibit F) of Judge Jules
                     Edwards of the 15th Judicial District Court in the Thibodeaux
                     Lawsuit.

                     Wherefore, Plaintiffs, John Thibodeaux, Amy Thibodeaux,
                     Gabrielle Thibodeaux, and Emily Thibodeaux, pray:

                     A. That process be issued as required by law and that Defendants
                        be served with copies of the Summons and Complaint for
                        Declaratory Judgment,

                     B. For a declaration by this Honorable Court declaring the rights
                        and obligations of the parties under the Rockhill Insurance
                        Company “Commercial Follow Form Policy”, Policy number
                        FF013178—99, including, but not limited to, a judgment
                        declaring that there is coverage under the Rockhill Insurance
                        Company “Commercial Follow Form. Policy” for the claims
                        asserted in the Thibodeaux lawsuit and the Final Judgment
                        executed by Judge Jules Edwards of the 15th Judicial District
                        Court of Lafayette, Louisiana after jury returned with verdict
                        on March 29, 2018,

                     C. For a declaration that all costs associated with this Complaint
                        for Declaratory Relief be assesses (sic) against Rockhill
                        Insurance Company, and

                     D. For such other and further relief as this Honorable Court deems
                        just and proper.1




  1
      See Complaint for Declaratory Judgment (Rec. Doc. 1), pp. 15-16.


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           In July, 2018, subsequent to the filing of the Complaint for Declaratory Judgment, a

  settlement was effected between Plaintiffs, JM. Drilling, LLC and Admiral Insurance Company,

  pursuant to which the settling parties, in consideration of a certain payment by Admiral

  Insurance Company, thereby executed a Receipt, Release and Indemnity Agreement which

  resulted in a full release of Admiral Insurance Company by Plaintiffs of any and all claims

  asserted in the Thibodeaux Lawsuit, including satisfaction of the worker’s compensation lien of

  Bellsouth Telecommunications, L.L.C., and, additionally, the discharge of Admiral Insurance

  Company by JM Drilling, L.L.C. of any and all obligations under the primary insurance policy,

  reserving unto Plaintiffs their rights to continue to pursue their claims against JM Drilling, LLC

  in excess of Admiral’s policy limit and, in particular, against Rockhill, as excess insurer of JM

  Drilling, LLC.2 Additionally, a Partial Satisfaction of Final Judgment by Plaintiffs and a

  Satisfaction of Judgment by Intervenor, Bellsouth Telecommunications, LLC, were filed into the

  Court record in the Thibodeaux Lawsuit.3 Also, Bellsouth Telecommunications, LLC filed a

  Motion for Judgment of Partial Dismissal to effect the dismissal, with prejudice, of its Counter-

  Claim against Plaintiffs and its Cross-Claim against JM Drilling, LLC and Admiral Insurance

  Company in this declaratory judgment action, which was granted by the Court. [Rec. Docs. 48

  and 52.] Accordingly, there is no longer any justiciable controversy between Plaintiffs and

  Admiral, or between Bellsouth Telecommunications, LLC and Admiral, or between JM Drilling,

  L.L.C. and Admiral, with respect to the Thibodeaux Lawsuit.

      II. LAW AND ARGUMENT

           When a Motion to Dismiss is predicated on both Rule 12(b)(1) and (6), it is well settled

  that the Court should first resolve the jurisdictional issue before addressing an attack on the

  2
   See Receipt, Release and Indemnity Agreement, attached hereto as Exhibit “A”.
  3
   See Partial Satisfaction of Final Judgment by Plaintiffs and Satisfaction of Final Judgment by Intervenor, Bellsouth
  Telecommunications, LLC, attached hereto in globo as Exhibit “B”.


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  merits of the claim. Atlantic Casualty Insurance Company v. Ramirez, 651 F.Supp. 2d 669, 672

  (citing Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001).            Furthermore, when

  addressing the lack of subject matter jurisdiction, the Court can base its decision on “(1) the

  Complaint standing alone; (2) the Complaint supplemented by undisputed facts evidenced in the

  record; or (3) the Complaint supplemented by undisputed facts, plus the court’s resolution of

  disputed facts.” Ramirez, 651 F.Supp. 2d at 672 (citation omitted).

          As noted by the Ramirez Court, Federal Courts are courts of limited jurisdiction and,

  pursuant to Article III §2 of the constitution, hear only “cases” and controversies. Ramirez, 651

  F.Supp. 2d at 673 (citing Shield v. Norton, 289 F.3d 832, 834). In the context of the Declaratory

  Judgment action, the Supreme Court has stated that a controversy exists “where the facts alleged

  . . . show that there is a substantial controversy, between parties having adverse legal interest, of

  sufficient immediacy and reality to warrant the issuance of a Declaratory Judgment.” Ramirez,

  651 F.Supp. 2d at 673 (quoting Maryland Casualty Co. v. Pacific Cole & Oil Co., 312 U.S. 270,

  273 (1941)).

          In the present case, a review of the allegations of the Complaint for Declaratory

  Judgment reveals that no case in controversy exists between the Thibodeaux plaintiffs and

  Admiral. This is evidenced by the fact that the prayer for relief relates solely to the pursuit by

  Plaintiffs of a declaration of coverage under the Rockhill excess insurance policy, and is further

  buttressed by the settlement agreement in which Plaintiffs and JM Drilling, L.L.C. stipulate that

  Admiral has fully exhausted its obligations under the primary policy by virtue of the payment

  recited therein.




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         On its face, pursuant to Rule 12(b)(6), the Complaint for Declaratory Judgment fails to

  state a claim for relief against Admiral and, thus, there exists no case or controversy sufficient to

  justify the exercise of this Court’s subject matter jurisdiction over Admiral in these proceedings.

     III. CONCLUSION

         Considering the foregoing, Admiral Insurance Company respectfully moves this

  Honorable Court for an Order granting its Motion to Dismiss, dismissing the Complaint for

  Declaratory Judgment as to Admiral, in the captioned civil action.

                                                 Respectfully submitted,


                                                 s/ Michael J. Vondenstein
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                                                 COMPANY

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 26, 2018, I electronically filed the foregoing with

  the Clerk of Court by using the CM/ECF system, which will send a copy of same, along with a

  Notice of Electronic Filing, to all counsel for record.


                                                            s/ Michael J. Vondenstein
                                                            MICHAEL J. VONDENSTEIN




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